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                            UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA

                              CASE No.: 8:19-cv-03058-VMC-AAS


     ANTAO PROPERTIES LLC, a                       CLASS REPRESENTATION
     Florida limited liability company, and
     SAMIIR KOLAR, individually, and               JURY TRIAL REQUESTED
     on behalf of all others similarly
     situated,

           Plaintiffs,

     vs.

     FIRST AMERICAN TITLE
     INSURANCE COMPANY,

           Defendant.

 ________________________________/

                     SECOND AMENDED CLASS ACTION COMPLAINT

       Plaintiffs, ANTAO PROPERTIES LLC and SAMIR KOLAR (hereinafter “Plaintiffs”),

bring this class action under Rule 23 of the Federal Rules of Civil Procedure, hereby sue

Defendant, FIRST AMERICAN TITLE INSURANCE COMPANY (hereinafter “Defendant”), on

behalf of themselves and all others similarly situated, and allege as follows:

       1.        This case arises from closing fees improperly charged and collected by Defendant

from buyers of real estate transactions throughout the State of Florida.

       2.        This action is brought on behalf of Plaintiffs and all others similarly situated

(collectively “Buyers”), pursuant to Federal Rules of Civil Procedure 23(a), (b)(2), (b)(3) and/or

(c)(4), seeking declaratory relief, injunctive relief, and/or damages in excess of Five-Million

Dollars ($5,000,000.00), exclusive of interest, costs, and attorneys’ fees.
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                         THE PARTIES, JURISDICTION AND VENUE

         3.    Plaintiff, ANTAO PROPERTIES LLC, is a single member Florida limited liability

company. It’s single individual member, Edward Antao, is a resident of Florida.

         4.    Plaintiff, SAMIR KOLAR, an individual, is a resident of Florida.

         5.    Defendant, a licensed title agency (hereinafter “Closing Agent”), is a foreign

company licensed and registered to do business in Florida, having offices located throughout the

State of Florida, including at 2370 Drew Street, Suite A, Clearwater, Florida 33765. Defendant

lists its registered agent as Chief Financial Officer, 200 E. Gaines Street, Tallahassee, Florida

32399.

         6.    This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs. Based on information and belief, and the information provided by Defendant in

its Notice of Removal, the size of the Class includes up to approximately 19,000 Class Members.

Defendant’s business records reflect that the potential recovery to the proposed class maybe as

much as $7 million. At least some members of the proposed Class have a different citizenship from

Defendant.

         7.    Personal jurisdiction exists because Defendant operates, conducts, engages in, and

carries on its business in this state, and the facts giving rise to Defendant’s alleged wrongful

conduct occurred in this State.

         8.    Venue exists pursuant to 28 U.S.C. § 1391(b) because Plaintiffs’ causes of action

accrued in this judicial district. Defendant conducts business in Pinellas County, Florida, and the

events, acts, breaches, misrepresentations, and/or omissions giving rise to Plaintiffs’ causes of

action occurred in Pinellas County.




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        9.      Defendant and its employees, subsidiaries, affiliates, and other related entities,

were, at all times relevant herein, agents, servants and employees of each other, and at all times

herein mentioned, each was acting within the purpose and scope of said agency and employment.

Whenever reference in this Complaint is made to any act or transaction of Defendant, such

allegation shall be deemed to mean that the principals, officers, directors, employees, agents,

and/or representatives of Defendant committed, knew of, performed, authorized, ratified and/or

directed such act or transaction on behalf of Defendant, while actively engaged in the scope of

their duties.

                             FACTS COMMON TO ALL CLAIMS

        10.     On or about November 14, 2017, Plaintiffs entered into a real estate purchase and

sale contract (hereinafter “Contract”) with the owner (hereinafter “Seller”) of certain real estate

located in Pinellas Florida (hereinafter “Property”). Pursuant to the terms of the Contract, Plaintiffs

agreed to pay cash for the Seller’s Property. Accordingly, the Contract was between Plaintiffs, as

the “Buyer,” and the owners, as the “Seller.”

        11.     The Contract is a standardized form known as the “‘AS IS’ Residential Contract

for Sale and Purchase” approved by the Florida Association of Realtors and Florida Bar.

(hereinafter “FARBAR Contract”).

        12.     A redacted and highlighted copy of the Contract is attached hereto as Exhibit “A”.

        13.     Pursuant to Paragraph 8(a) of the Contract, Plaintiffs agreed to pay cash for the

Property.

        14.     Paragraph 9 of the Contract states in relevant part:

                9.     CLOSING COSTS; TITLE INSURANCE . . .

                (a)    COSTS TO BE PAID BY SELLER:

                                                 ***



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               •        Owner’s Policy and Charges (if Paragraph 9(c)(i) is checked

                                                       ***

               (c) TITLE EVIDENCE AND INSURANCE: At least ______ (if left blank,
               then 15, or if Paragraph 8(a) is checked, then 5) days prior to Closing Date (“Title
               Evidence Deadline”), a title insurance commitment issued by a Florida licensed
               title insurer, with legible copies of instruments listed as exceptions attached
               thereto (“Title Commitment”) and, after Closing, an owner’s policy of title
               insurance (see STANDARD A for terms) shall be obtained and delivered to
               Buyer. If Seller has an owner’s policy of title insurance covering the Real
               Property, a copy shall be furnished to Buyers and Closing Agent within 5 days
               after Effective Date. The owner’s title policy premium, title search and closing
               services (collectively, “Owner’s Policy and Charges”) shall be paid, as set
               forth below. The title insurance premium charges for the owner’s policy and any
               lender’s policy will be calculated and allocated in accordance with Florida law,
               but may be reported differently on certain federally mandated closing disclosures
               and other closing documents. For purposes of this Contract “municipal lien
               search” means a search of records necessary for the owner’s policy of title
               insurance to be issued without exception for unrecorded liens imposed pursuant
               to Chapters 159 or 170, F.S., in favor of any governmental body, authority or
               agency.
               (CHECK ONE):
                 x (i) Seller shall designate Closing Agent and pay for Owner’s Policy and
               Charges, and Buyer shall pay the premium for Buyer’s lender’s policy and
               charges for closing services related to the lender’s policy, endorsements and loan
               closing, which amounts shall be paid by Buyer to Closing Agent or such other
               provider(s) as Buyer may select; (emphasis added) . . .

       15.     Pursuant to Paragraph 9(c) of the Contract, the owner’s title policy premium, title

search and title agent closing services (collectively, “Owner’s Policy and Charges”) were to be

charged to either the Buyer or Seller consistent with the terms and instructions of the Contract.

       16.     The Buyer and Seller agreed to the option reflected in Paragraph 9(c)(i) of the

Contract, which specifies that the Seller “shall designate Closing Agent and pay for Owner’s

Policy and Charges”.

       17.      Pursuant to Paragraph 9(c)(i), charges and fees are only to be paid by the Buyer in

the event the transaction is being financed by a lender. Since the Contract here was an all-cash

transaction with no lender, Plaintiffs were not responsible for any loan or title agent closing fees,

title policy premiums or lender endorsements.




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       18.     The Seller designated Defendant to be the Closing Agent for the procurement of

title insurance and to perform closing services (“Closing Services”) in connection with the

transaction. Defendant accepted this designation and by doing so, agreed to supervise and carry

out the closing in accordance with the terms of the Contract, including to only charge and collect

fees from monies in escrow in accordance with the Contract.

       19.     Defendant performed Closing Services in connection with the transaction for which

Defendant charged a fee (“Closing Services Fee”).

       20.     The Contract provided that the Closing Services Fee would only be charged to, and

collected from, the Seller. Because the sale was a cash transaction, there was no lender’s policy,

endorsement or related loan closing services, so Defendant should not have charged Plaintiffs a

Closing Services Fee.

       21.     At closing, Defendant presented a settlement disclosure statement a/k/a HUD

(“Settlement Statement”) detailing the receipts and disbursements made on Plaintiffs’ account,

including the allocation of Defendant’s Closing Services Fee, which was to be prepared in

accordance with the Contract’s instructions. A redacted and highlighted copy of the Settlement

Statement is attached hereto as Exhibit “B”.

       22.     As indicated on the Settlement Statement, an authorized Closing Services Fee was

charged to the Seller, but an unauthorized Closing Services Fee in the amount of $150.00 was also

improperly charged by Defendant to Plaintiffs.

       23.     This amount was charged to Plaintiffs’ account despite the explicit language in the

Contract stating that “Seller shall . . . pay for Owner’s Policy and Charges,” which, by definition,

included Defendant’s Closing Services Fee.




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       24.      Defendant made the decision to prepare and present the Settlement Statement to

Plaintiffs with a Closing Services Fee being assessed to Plaintiffs, and to take from Plaintiffs the

Closing Services Fee reflected in same.

       25.      At the time Defendant presented the Settlement Statement to Plaintiffs, Defendant

did not disclose to Plaintiffs that a Closing Services Fee was only supposed to be paid by the Seller

pursuant to the Contract.

       26.      Plaintiffs and Class Members relied on Defendant to prepare all closing documents,

including the Settlement Statement, in accordance with their respective Contracts with Sellers.

       27.      Plaintiffs believed that the Settlement Statement, including all charges, receipts,

and disbursements reflected on same, was prepared in accordance with Plaintiffs’ and the Seller’s

agreement reflected in the Contract.

       28.      At the time Plaintiffs and Class Members signed their Settlement Statements they

did so under a mistake of fact that the charges, receipts, and disbursements in their Settlement

Statements were allocated, charged, and calculated correctly in accordance with their Contracts

with Sellers.

       29.      Consequently, Plaintiffs and Class Members have been improperly and unfairly

charged monies by the Defendant Closing Agent, which Defendant was not authorized to collect

from Plaintiffs and Class Members.

       30.      Defendant knew or should have known that it was not permitted to charge Plaintiffs

a Closing Services Fee.

       31.      All conditions precedent to this action have occurred.

       32.      Plaintiffs have retained the undersigned attorneys and is obligated to pay said

attorney a reasonable attorney’s fee.




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                        CLASS REPRESENTATION ALLEGATIONS

       33.     Plaintiffs re-allege and incorporate by reference all allegations set forth in the

preceding paragraphs of this Complaint, as if fully set forth verbatim herein.

       34.     Plaintiffs bring this class action under Federal Rules of Civil Procedure 23(a),

(b)(2), (b)(3) and/or (c)(4) on behalf of himself and on behalf of a similarly situated “Class” or

“Class Members.”

       35.     The prerequisites set forth in Federal Rule of Civil Procedure 23(a) have been met

in order to maintain this matter as a class action because “(1) the members of the class are so

numerous that separate joinder of each member is impracticable, (2) the claim or defense of the

representative party raises questions of law or fact common to the questions of law or fact raised

by the claim or defense of each member of the class, (3) the claim or defense of the representative

party is typical of the claim or defense of each member of the class, and (4) the representative party

can fairly and adequately protect and represent the interests of each member of the class.”

       36.     Plaintiffs bring this class action individually, and on behalf of a putative class of

similarly situated Buyers, and seek class certification of the claims and issues pleaded in this

Complaint, on behalf of the Class defined as follows:

       All Buyers in all cash real estate sale transactions in Florida, that used an “AS
       IS” Residential Contract for Sale and Purchase form approved by the Florida
       Bar and Florida Association of Realtors, that selected sub-paragraph (i) of
       section 9(c), but who were charged and paid a Closing Agent Closing Services
       Fee, during the four years precedent to the date of filing the Complaint,
       through and until the date Notice is provided to the Class.

       37.     Excluded from the Class are governmental entities, Defendant, any entity in which

Defendant has a controlling interest, and Defendant’s officers, directors, affiliates, legal

representatives, employees, co-conspirators, successors, subsidiaries, and assigns. Also excluded



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from the Class is any judge, justice, or judicial officer presiding over this matter and the members

of their immediate families and judicial staff.

        38.    Plaintiffs hereby reserve the right to amend or modify the class definition with

greater specificity or division after having had an opportunity to conduct discovery.

        39.    All Class Members were and are similarly affected by Defendant’s conduct and

business practice because they all were cash Buyers who were supposed to only be charged

consistent with section 9(c)(i) of the uniform and standardized FARBAR Contract, but who were

all nonetheless charged and paid Closing Services Fees inconsistent with the terms of the

FARBAR Contract.

        40.    This matter is appropriate for a class action pursuant to Federal Rule of Civil

Procedure 23(b)(1), because “the prosecution of separate claims or defenses by or against

individual members of the Class would create a risk of either: (A) inconsistent or varying

adjudications concerning individual members of the class which would establish incompatible

standards of conduct for the party opposing the class; or (B) adjudications concerning individual

members of the class which would, as a practical matter, be dispositive of the interests of other

members of the Class who are not parties to the adjudications, or substantially impair or impede

the ability of other members of the Class who are not parties to the adjudications to protect their

interests.”

        41.    A class action is also appropriate pursuant to Federal Rule of Civil Procedure

23(b)(2), which states: “the party opposing the class has acted or refused to act on grounds

generally applicable to all the members of the class, thereby making final injunctive relief or

declaratory relief concerning the class as a whole appropriate.” Here, Defendant’s consistent

business practice affects all Class Members, including Buyers who may use Defendant as their




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Closing Agent at the selection of Sellers in the future. Therefore, Defendant’s wrongful business

practice is continuing and on-going, making injunctive and declaratory relief appropriate to the

Class as a whole.

       42.     In the alternative, a class action is proper pursuant to Federal Rule of Civil

Procedure 23(b)(3), because questions of law or fact common to the claim or defense of the

representative party and the claim or defense of each member of the class predominate over any

question of law or fact affecting only individual members of the class, and class representation is

superior to other available methods for the fair and efficient adjudication of the controversy. Here,

no unusual difficulties are likely to be encountered in the management of this class action. The

quintessential purpose of the class action mechanism is to permit litigation against wrongdoers

even when damages to individual Plaintiffs may not be sufficient to justify individual litigation.

Here, the damages suffered by Plaintiffs and Class Members are relatively small compared to the

burden and expense required to individually litigate their claims against Defendant, and thus,

individual litigation to redress Defendant’s wrongful conduct would be impracticable. Individual

litigation by each Class Member would also strain the court system. Individual litigation creates

the potential for inconsistent or contradictory judgments, and increases the delay and expense to

all parties and the court system. By contrast, the class action device presents far fewer management

difficulties and provides the benefits of a single adjudication, economies of scale, and

comprehensive supervision by a single court.

       43.     Based on the estimated number of all cash land sale transactions throughout Florida

and investigation of counsel, it is readily apparent that the number of Buyers is so large as to make

joinder impractical. Based on information and belief, and the information provided Defendant in

its Notice of Removal, the size of the Class includes up to approximately 17,000 Class Members.




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 Nevertheless, despite the estimated size of the Class, Class Members may be notified of the class

 certification and pendency of this action by recognized, Court-approved notice dissemination

 methods, which may include U.S. Mail, electronic mail, Internet postings, and/or published notice

 through the assistance of a Class Action Administrator. Defendant maintains business records of

 all the real estate transactions in which it served as the Closing Agent. All proposed Class Members

 are readily ascertainable by records maintained by Defendant. Using this information, the Class

 Members can be identified and their contact information ascertained for purposes of providing

 notice to the Class.

            44.      Questions of law and fact common to the Plaintiffs and Class Members that

 predominate over questions affecting only individual members, include, inter alia:

                  a. Whether Plaintiffs and Class Members entered into FARBAR Contracts with

 Sellers;

                  b. Whether Defendant acted as a Closing Agent in connection with the FARBAR

 Contracts that Plaintiffs and Class Members entered into with Sellers;

                  c. Whether Defendant breached a duty of care owed to Plaintiffs and Class Members

 as Buyers;

                  d. Whether Defendant was negligent by charging Plaintiffs and Class Members a

 Closing Agent Closing Services Fee;

                  e. Whether Defendant was grossly negligent by charging Plaintiffs and Class

 Members a Closing Agent Closing Services Fee;

                  f. Whether Defendant breached its fiduciary duty by charging Plaintiffs and Class

 Members a Closing Agent Closing Services Fee;




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               g. Whether Defendant has been unjustly enriched by charging Plaintiffs and Class

 Members a Closing Agent Closing Services Fee;

               h. Whether Defendant’s conduct constitutes an unfair or deceptive business practice;

               i. Whether Defendant’s conduct injured Plaintiffs and the Class Members, and if so,

 the extent of the injury suffered by Plaintiffs and Class Members; and

               j. Whether Plaintiffs and Class Members are entitled to any other relief, including

 injunctive relief.

         45.      The claims asserted by Plaintiffs in this action are typical of the claims of Class

 Members as the claims arise from the same course of conduct by Defendant, and the relief sought

 within the Class is common to each of the Class Members.

         46.      Plaintiffs and Plaintiffs’ counsel will fairly and adequately represent and protect the

 interests of the Class. Plaintiffs has retained counsel competent and experienced in both consumer

 protection and class action litigation. Plaintiffs’ counsel has represented consumers in a wide

 variety of class actions where they were approved as class counsel.

         47.      A class action is a fair and appropriate method for the adjudication of the

 controversy, in that it will permit a large number of claims to be resolved in a single forum

 simultaneously, efficiently, and without the unnecessary hardship that would result from the

 prosecution of numerous individual actions and the duplication of discovery, effort, expense and

 burden on the courts that individual actions would engender.

         48.      The benefits of proceeding as a class action, including providing a method for

 obtaining redress for claims that would not be practical to pursue individually, outweigh any

 difficulties that might be argued regarding the management of this class action.




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           49.   Absent a class action, it would be highly unlikely that the representative Plaintiffs

 or any other Class member would be able to protect their own interests because the cost of litigation

 through individual lawsuits might exceed the expected individual recovery.

           50.   The questions of law or fact common to the respective Class Members predominate

 over questions of law or fact affecting only individual members.

           51.   This predominance makes class action litigation superior to any other method

 available for a fair and efficient litigation of the claims at issue in this matter.

           52.   Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

 because such claims present only particular, common issues, the resolution of which would

 advance the disposition of this matter and the parties’ interests therein.

                                               COUNT I
                                           (Gross Negligence)

           53.   Plaintiffs adopt and reallege paragraphs 1 through 52 as if fully set forth herein.

           54.   Defendant was the Closing Agent for Plaintiffs’ cash purchase of real property

 pursuant to the Contract.

           55.   Defendant owed a duty of care to Plaintiffs and Class Members to act competently

 and diligently with regards to closing the sale between Buyers and Seller, including a duty to

 supervise and carry out the closing in accordance with the terms and instructions of the Contract.

           56.   In performing Closing Services for the transaction, Defendant breached its duty of

 care to the Plaintiffs in the process of closing the sale and acted with gross negligence, as

 Defendant either wholly failed to review Paragraph 9(c) of the Contract or recklessly disregarded

 the terms of Paragraph 9(c) of the Contract when allocating and charging costs to the Buyer and

 Seller.




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         57.     As a result of Defendant’s breach, Plaintiffs and Class Members were charged a

 Closing Services Fee, despite the Contract stating that the Closing Services Fee would be charged

 only to the Seller.

         58.     Defendant made the conscious or active decision to either not read, or to ignore

 what it did read in the Contract. Defendant was aware of its actions of charging Plaintiffs and

 Class Members a Closing Services Fee.

         59.     Defendant’s conduct evidences a reckless indifference to the rights of Plaintiffs and

 Class Members, a failure to exercise even the slightest degree of care, and a conscious disregard

 or indifference to the rights of Plaintiffs and Class Members.

         60.     As a direct and proximate result of the Defendant’s gross negligence, Plaintiffs and

 Class Members have been damaged in the amount of the Closing Service Fee paid by and charged

 to Plaintiffs and Class Members.

         WHEREFORE, Plaintiffs demand judgment for damages in the amount of the total Closing

 Services Fees paid by and charged to Plaintiffs and Class Members, together with interest and

 costs and an award of attorney’s fees as permitted pursuant to applicable common benefit law.

                                              COUNT II
                                             (Negligence)

         61.     Plaintiffs adopt and reallege paragraphs 1 through 52 as if fully set forth herein.

         62.     Defendant was the Closing Agent for the subject real estate transaction.

         63.     Defendant owed a duty of care to Plaintiffs and Class Members to act competently

 and diligently with regards to closing the sale between Buyers and Seller, including a duty to

 supervise and carry out the closing in accordance with the terms and instructions of the Contract.

         64.     In performing Closing Services for the transaction, Defendant breached its duty of

 care to the Plaintiffs in the process of closing the sale and acted with negligence, as Defendant



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 failed to supervise and carry out the closing in a reasonable matter, in that Defendant either

 neglected to review Paragraph 9(c) of the Contract or disregarded the terms of Paragraph 9(c) of

 the Contract when allocating and charging costs to the Buyer and Seller.

         65.     As a result of Defendant’s breach, Plaintiffs and Class Members were charged a

 Closing Services Fee, despite the Contract stating that the Closing Services Fee would be charged

 only to the Seller.

         66.     Defendant’s conduct evidences a failure to exercise reasonable care.

         67.     As a direct and proximate result of the Defendant’s negligence, Plaintiffs and Class

 Members have been damaged in the amount of the Closing Service Fee paid by and charged to

 Plaintiffs and Class Members.

         WHEREFORE, Plaintiffs demand judgment for damages in the amount of the total Closing

 Services Fees paid by and charged to Plaintiffs and Class Members, together with interest and

 costs and an award of attorney’s fees as permitted pursuant to applicable common benefit law.

                                            COUNT III
                                     (Breach of Fiduciary Duty)

         68.     Plaintiffs adopt and reallege paragraphs 1 through 52 as if fully set forth herein.

         69.     By virtue of its status as the closing or escrow agent for the Buyer and Seller,

 Defendant owed a fiduciary duty to the contracting parties to deal in the utmost good faith, to

 refrain from self-dealing, and to act in the best interest of the Buyer and Seller.

         70.     In addition to the fiduciary duty imposed by law, pursuant to Fla. Stat. §

 626.8473(2), (4) “all funds received by a title insurance agent . . . shall be trust funds received in

 a fiduciary capacity,” and “shall not be subject to any debts of the title insurance agent and shall

 be used only in accordance with the terms of the individual, escrow, settlement, or closing

 instructions. Fla. Stat. § 626.8473(2), (4).



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        71.      Defendant’s fiduciary duty, as a closing agent, included the duty to conduct and

 supervise the closing in accordance with the terms and instructions of the Contract.

        72.      The Contract specified how the Closing Services Fees were to be allocated and to

 whom they were to be charged.

        73.      Defendant, as Closing Agent, had a duty to comply with the terms of the Contract,

 including a duty to charge and collect Closing Services Fees from Plaintiffs and Class Members

 in accordance with the Contract’s instructions.

        74.      Defendant, as Closing Agent, by accepting Plaintiffs’ and Class Members’ funds,

 and agreeing to act as Closing Agent, had a duty to charge and collect the Closing Services Fees

 in accordance with the Contract.

        75.      Defendant breached its fiduciary duty by failing to conduct and supervise the

 closing in accordance with the terms of the Contract by improperly charging and collecting Closing

 Services Fees from Plaintiffs and Class Members.

        76.      Defendant, as a fiduciary, acquired influence and trust over Plaintiffs and Class

 Members. Plaintiffs and Class Members depended on Defendant to conduct the closing in

 accordance with the Contract.

        77.      Defendant breached and abused its position of trust and influence with Plaintiffs

 and Class Members by charging Closing Fees to Buyers when it was not authorized to do so under

 the Contract.

        78.      Defendant’s improper charging and collecting of Closing Services Fees from

 Plaintiffs and Class Members is unfair and deceptive to Buyers because it is inconsistent with the

 express terms of the Contract, which Defendant, as Closing Agent, accepted by agreeing to be the




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 Closing Agent for Plaintiffs and Class Members’ cash real estate closings. Defendant’s unfair and

 deceptive charging and collecting of Closing Services Fess from Buyers constitutes a breach of

 the fiduciary duty owed to Plaintiffs and Class Members.

           79.   Defendant’s breach of their fiduciary duty to Plaintiffs caused Plaintiffs to suffer

 direct and real harm through Defendant charging Plaintiffs an improper fee and wrongfully

 collecting this improper fee from Plaintiffs’ monies that Defendant was holding in trust.

           80.   As a direct and proximate result of Defendant’s breach and dereliction of fiduciary

 duty, Plaintiffs and Class Members have been damaged in the amount of the Closing Service Fee

 paid by and charged to Plaintiffs and Class Members.

           WHEREFORE, Plaintiffs demand judgment for damages in the amount of the total Closing

 Services Fees paid by and charged to Plaintiffs and Class Members, together with interest and

 costs and an award of attorney’s fees as permitted pursuant to applicable common benefit law.

                                            COUNT IV
                                        (Unjust Enrichment)

           81.   Plaintiffs adopt and reallege paragraphs 1 through 52 as if fully set forth herein.

           82.   This equitable cause of action is pleaded as an alternative to Plaintiffs’ legal

 remedies alleged in this Second Amended Complaint if it is found that Plaintiffs have no remedy

 at law.

           83.   Plaintiffs and Class Members conferred a benefit on Defendant, in that Defendant

 charged and collected an improper and wrongful Closing Services Fee from Plaintiffs and Class

 Members.

           84.   Defendant knew and appreciated that it charged and collected a Closing Services

 Fee from Plaintiffs and Class Members, as Defendant made the decision to charge Plaintiffs and




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 Class Members a Closing Service Fees when it prepared the Settlement Statement and conducted

 and supervised the closing.

        85.    Defendant voluntarily accepted and retained the Closing Services Fees paid

 Plaintiffs and Class Members, despite the Closing Services Fees not being authorized in the

 Contract.

        86.    Instead of receiving the benefits they already contracted for, Plaintiffs and Class

 Members all paid more money than they bargained for by being charged an unauthorized Closing

 Services Fee that was conferred on Defendant.

        87.    In the end, by collecting an unauthorized Closing Services Fee, Plaintiffs and Class

 Members paid more than they bargained for.

        88.    Here, the circumstances render Defendant’s retention of the Closing Services Fees

 paid by Plaintiffs and Class Members inequitable and unfair unless Defendant returns the money

 that was improper collected from Plaintiffs and Class Members.

        89.    The Closing Services Fees paid by Plaintiffs and Class Members in hands of

 Defendant should be returned to Plaintiffs and Class Members.

        90.    As a direct and proximate result of the foregoing, Plaintiffs and Class Members

 have been damaged in the amount of the Closing Service Fee paid by and charged to Plaintiffs and

 Class Members.

        WHEREFORE, Plaintiffs demand judgment for damages in the amount of the total Closing

 Services Fees paid by and charged to Plaintiffs and Class Members, together with interest and

 costs and an award of attorney’s fees as permitted pursuant to applicable common benefit law.

                                          COUNT V
                       (Florida Deceptive And Unfair Trade Practices Act)

        91.    Plaintiffs adopt and reallege paragraphs 1 through 52 as if fully set forth herein.



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        92.     Under the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”),

 “[u]nfair methods of competition, unconscionable acts or practices, and unfair or deceptive acts or

 practices in the conduct of any trade or commerce” are unlawful. See Fla. Stat. §501.211

        93.     Fla. Stat. §501.211 grants a private right of action for violations of FDUTPA.

        94.     The primary policy of FDUTPA is “[t]o protect the consuming public…from those

 who engage in … unconscionable, deceptive, or unfair acts or practices in the conduct of any trade

 or commerce” and as a rule of construction, the FDUTPA statutes “shall be construed liberally to

 promote [such] policies…” See Fla. Stat. §501.202.

        95.     At all relevant times, Plaintiffs and Class Members were “consumers” as defined

 by section Fla. Stat. §501.203 (7).

        96.     Defendant was at all relevant times engaged in trade or commerce as defined in Fla.

 Stat. §501.203.

        97.     Anyone aggrieved by a violation of FDUTPA “may bring an action to obtain a

 declaratory judgment that an act or practice violates [FDUTPA].” (“Without regard to any other

 remedy or relief to which a person is entitled, anyone aggrieved by a violation of this part may

 bring an action to obtain a declaratory judgment that an act or practice violates this part and to

 enjoin a person who has violated, is violating, or is otherwise likely to violate this part”). See Fla.

 Stat. §501.211(1).

        98.     Any person who has suffered a loss as a result of a violation of FDUTPA “may

 recover actual damages, plus attorney’s fees and court costs.” See Fla. Stat. §501.211(2).

        99.     Defendant’s business practice of charging Buyers a Closing Services Fee contrary

 to the terms of the FARBAR Contract, is and continues to constitute an unconscionable, deceptive,




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 and unfair act in the conduct of commerce that is injurious to consumers as it relates to the issuance

 and management of the closing of real estate transactions.

        100.     Likewise, Defendant’s repeated and systematic practice of misrepresenting on the

 Settlement Statements that Buyers, such as the Plaintiff, are responsible for payment of Closing

 Services Fees is, and continues to constitute, an unconscionable, deceptive, and unfair act in the

 conduct of commerce as it relates to the issuance and management of the closing of real estate

 transactions.

        101.     Plaintiffs and Class Members have been aggrieved by the Defendant’s violations

 of FDUTPA.

        102.     Defendant’s conduct has a tendency to mislead Buyers as to the existence of an

 obligation they had not incurred.

        103.     Defendant’s deceptive acts or practices impact the public interest and have the

 capacity to deceive and to be unfair to a substantial portion of the public. The acts are committed

 in the course of Defendant’s business; the acts are part of a pattern or generalized course of

 business; the acts were committed repeatedly and there is a real and substantial potential for

 repetition of Defendant’s conduct.

        104.     Defendant’s unfair or deceptive acts or practices have directly and proximately

 caused actual damage to the Plaintiffs and members of the class.

        105.     A bona fide present controversy exists among the Plaintiffs and the Defendant as

 to whether Defendant was entitled to charge Plaintiff a Closing Services Fee.

        106.     Plaintiffs are in doubt as to the parties’ respective immunities, powers, privileges,

 and/or rights arising from the facts alleged herein, and there is a bona fide, actual, present, and




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 practical need among the parties for a judicial declaration of such immunities, powers, privileges,

 and/or rights.

        107.      Plaintiffs are entitled to recover reasonable attorney’s fees and costs from the

 Defendant pursuant to Fla. Stat. §501.2105.

        WHEREFORE, Plaintiffs demand judgment for damages in the amount of the total Closing

 Services Fees collected from Plaintiffs and Class Members pursuant to Fla. Stat. §501.211(1),

 declaratory judgment that the actions alleged herein violate the FDUTPA pursuant to Fla. Stat.

 §501.211(1), together with interest and costs and an award of attorney’s fees as permitted by Fla.

 Stat. §501.2105 and pursuant to applicable common benefit law.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, individually, and on behalf of all others similarly situated,

 prays for judgment and relief on all causes of action alleged above, as follows:

        A.        For an order certifying that this action may be maintained as a class action,

 certifying Plaintiffs as representatives of the Class, ordering Defendant to pay all costs associated

 with notice and administration of payment to the Class, and designating Plaintiffs’ attorneys as

 Class Counsel;

        B.        A declaration that Defendant’s practice of charging and collecting Closing Services

 Fees from Buyers in cash transactions under FARBAR Contracts, violates the rights of Buyers;

        C.        An injunction prohibiting Defendant from collecting Closing Services Fees from

 Buyers in cash transactions under FARBAR Contracts;

        D.        For an award of actual damages in an amount to be determined at trial;

        E.        For an award of costs of this suit, including reasonable attorney’s fees;

        F.        For an award of pre- and post-judgment interest on any amounts awarded; and




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        G.     Providing such further relief as may be just, appropriate, or proper.

                                          JURY DEMAND

        Plaintiffs respectfully demands a trial by jury on all issues so triable.

 DATED: February 7, 2020               Respectfully Submitted,

                                       By:     /s/ Joshua H. Eggnatz
                                               Joshua H. Eggnatz, Esq. (FBN: 0067926)
                                               E-mail: JEggnatz@JusticeEarned.com
                                               EGGNATZ ǀ PASCUCCI
                                               7450 Griffin Road, Suite 230
                                               Davie, FL 33314
                                               Telephone: 954-889-3359
                                               Facsimile: 954-889-5913

                                               Seth M. Lehrman (FBN: 132896)
                                               E-mail: seth@epllc.com
                                               EDWARDS POTTINGER LLC.
                                               425 North Andrews Avenue, Suite 2
                                               Fort Lauderdale, FL 33301
                                               Telephone: 954-524-2820
                                               Facsimile: 954-524-2822

                                               Richard B. Feinberg (FBN: 802808)
                                               E-mail: ricfeinberg@hotmail.com
                                               FLORIDA LEGACY LAW, LLC
                                               600 Cleveland Street, Suite 313
                                               Clearwater, FL 33755
                                               Telephone: 727 231-6400

                                               Trial Counsel for Plaintiffs and the Putative Class

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the above and foregoing was served
 via CM/ECF this 7th day of February 2020, to the following on the service list:
 below:

 Jacqueline R. A. Root, Esquire
 Florida Bar No.: 085700
 PENNINGTON P.A.
 2701 N. Rocky Point Drive – Suite 900
 Tampa, FL 33607-5975
 Phone: (813) 549-4146



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 E-mail: jroot@penningtonlaw.com

 Elizabeth T. Ferrick (PHV)
 Grant Ankrom (PHV)
 DENTONS US LLP
 One Metropolitan Square
 211 N Broadway Suite 3000
 St. Louis, MO 63102
 Phone: (314) 241-1800
 E-mail: elizabeth.ferrick@dentons.com
 grant.ankrom@dentons.com

 Attorneys for Defendant First American
 Title Insurance Company




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